Case 23-11240-TMH   Doc 273-2   Filed 10/17/23   Page 1 of 4




                       Exhibit 2
Case 23-11240-TMH   Doc 273-2   Filed 10/17/23   Page 2 of 4




                      EXHIBIT I
                 Case 23-11240-TMH                    Doc 273-2           Filed 10/17/23            Page 3 of 4



From: Matthew B. Stein [mailto:MStein@kasowitz.com]
Sent: Monday, October 2, 2023 6:58 AM
To: Maxim Litvak <mlitvak@pszjlaw.com>; Dehney, Robert <RDehney@morrisnichols.com>;
Richenderfer, Linda (USTP) <Linda.Richenderfer@usdoj.gov>; Joseph C. Barsalona II
<JBarsalona@pashmanstein.com>; Patty Tomasco <pattytomasco@quinnemanuel.com>; Bennett
Murphy <bennettmurphy@quinnemanuel.com>
Cc: Laura Davis Jones <ljones@pszjlaw.com>; David Bertenthal <dbertenthal@pszjlaw.com>
Subject: RE: AmeriFirst ‐ Scheduling and Protective Order



Max,

Attached please find comments from the Committee to the proposed order. We are available to discuss
any issues before or after today’s hearing.

Best, Matt


Matthew B. Stein
Kasowitz Benson Torres LLP
1633 Broadway
New York, New York 10019
Tel. (212) 506-1717
Fax. (212) 835-5017
MStein@kasowitz.com




This e-mail and any files transmitted with it are confidential and may be subject to the attorney-client privilege. Use or disclosure of
this e-mail or any such files by anyone other than a designated addressee is unauthorized. If you are not an intended recipient,
please notify the sender by e-mail and delete this e-mail without making a copy.


From: Maxim Litvak <mlitvak@pszjlaw.com>
Sent: Saturday, September 30, 2023 7:54 PM
To: Matthew B. Stein <MStein@kasowitz.com>; Dehney, Robert <RDehney@morrisnichols.com>;
Richenderfer, Linda (USTP) <Linda.Richenderfer@usdoj.gov>; Joseph C. Barsalona II
<JBarsalona@pashmanstein.com>; Patty Tomasco <pattytomasco@quinnemanuel.com>; Bennett
Murphy <bennettmurphy@quinnemanuel.com>
Cc: Laura Davis Jones <ljones@pszjlaw.com>; David Bertenthal <dbertenthal@pszjlaw.com>
Subject: AmeriFirst ‐ Scheduling and Protective Order




ALERT: THIS IS AN EXTERNAL EMAIL. DO NOT CLICK
ON ANY LINK, ENTER A PASSWORD, OR OPEN AN
             Case 23-11240-TMH           Doc 273-2      Filed 10/17/23     Page 4 of 4




ATTACHMENT UNLESS YOU KNOW THAT THE
MESSAGE CAME FROM A SAFE EMAIL ADDRESS.



Counsel:

Further to Judge Horan’s ruling yesterday, please see attached proposed scheduling and protective
order.

Please advise with any comments as soon as possible. We would like to submit this order to the Court
on Monday. Thanks, Max.

Maxim Litvak
Pachulski Stang Ziehl & Jones LLP
Tel: 415.263.7000 | Fax: 415.263.7010
mlitvak@pszjlaw.com
vCard | Bio | LinkedIn




                                                  2
